Case 1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document     215-11
                                     199-13       filed
                                              Filed     10/03/11USDC
                                                      09/19/11    USDC ColoradoPage
                                                                     Colorado    pg 16
                                      of 17
                                      of 11
Case 1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document     215-11
                                     199-13       filed
                                              Filed     10/03/11USDC
                                                      09/19/11    USDC ColoradoPage
                                                                     Colorado    pg 27
                                      of 17
                                      of 11
Case 1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document     215-11
                                     199-13       filed
                                              Filed     10/03/11USDC
                                                      09/19/11    USDC ColoradoPage
                                                                     Colorado    pg 38
                                      of 17
                                      of 11
Case 1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document     215-11
                                     199-13       filed
                                              Filed     10/03/11USDC
                                                      09/19/11    USDC ColoradoPage
                                                                     Colorado    pg 49
                                      of 17
                                      of 11
 Case1:09-cv-00799-SJJ
Case  No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document      215-11
                                     199-13   Filedfiled 10/03/11
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                                                                USDC   Colorado
                                                                     Colorado   pg 10
                                                                              Page 5
                                      of 17
                                       of 11
 Case1:09-cv-00799-SJJ
Case  No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document      215-11
                                     199-13   Filedfiled 10/03/11
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                                                                USDC   Colorado
                                                                     Colorado   pg 11
                                                                              Page 6
                                      of 17
                                       of 11
Case 1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document     215-11
                                     199-14       filed
                                              Filed     10/03/11USDC
                                                      09/19/11    USDC ColoradoPage
                                                                     Colorado    pg 71
                                      of 17
                                      of 11




                       EXHIBIT A.13
Case 1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document     215-11
                                     199-14       filed
                                              Filed     10/03/11USDC
                                                      09/19/11    USDC ColoradoPage
                                                                     Colorado    pg 82
                                      of 17
                                      of 11
Case 1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document     215-11
                                     199-14       filed
                                              Filed     10/03/11USDC
                                                      09/19/11    USDC ColoradoPage
                                                                     Colorado    pg 93
                                      of 17
                                      of 11
Case
Case No. 1:09-cv-00799-SJJ-KLM
     1:09-cv-00799-SJJ         Document
                       -KLM Document     215-11Filed
                                     199-14       filed 10/03/11 USDC
                                                      09/19/11    USDC Colorado Page
                                                                      Colorado   pg 10
                                                                                     4
                                      of 17
                                      of 11
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Case No. 1:09-cv-00799-SJJ-KLM
     1:09-cv-00799-SJJ         Document
                       -KLM Document     215-11Filed
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                                                                      Colorado   pg 11
                                                                                     5
                                      of 17
                                      of 11
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Case No. 1:09-cv-00799-SJJ-KLM
     1:09-cv-00799-SJJ         Document
                       -KLM Document     215-11Filed
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                                                                      Colorado   pg 12
                                                                                     6
                                      of 17
                                      of 11
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Case No. 1:09-cv-00799-SJJ-KLM
     1:09-cv-00799-SJJ         Document
                       -KLM Document     215-11Filed
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                                                      09/19/11    USDC Colorado Page
                                                                      Colorado   pg 13
                                                                                     7
                                      of 17
                                      of 11
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Case No. 1:09-cv-00799-SJJ-KLM
     1:09-cv-00799-SJJ         Document
                       -KLM Document     215-11Filed
                                     199-14       filed 10/03/11 USDC
                                                      09/19/11    USDC Colorado Page
                                                                      Colorado   pg 14
                                                                                     8
                                      of 17
                                      of 11
Case
Case No. 1:09-cv-00799-SJJ-KLM
     1:09-cv-00799-SJJ         Document
                       -KLM Document     215-11Filed
                                     199-14       filed 10/03/11 USDC
                                                      09/19/11    USDC Colorado Page
                                                                      Colorado   pg 15
                                                                                     9
                                      of 17
                                      of 11
Case 1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document     215-11
                                     199-14       filed
                                              Filed     10/03/11USDC
                                                      09/19/11    USDC ColoradoPage
                                                                     Colorado    pg 16
                                                                                    10
                                      of 17
                                       of 11
Case 1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document     215-11
                                     199-14       filed
                                              Filed     10/03/11USDC
                                                      09/19/11    USDC ColoradoPage
                                                                     Colorado    pg 17
                                                                                    11
                                      of 17
                                       of 11
